Case 2:19-cv-13092-BAF-DRG ECF No. 38, PageID.172 Filed 11/09/20 Page 1 of 2



                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION

JENNIFER SCHLUTER,

        Plaintiff,                                              Civil Action No. 19-CV-13092

vs.                                                             HON. BERNARD A. FRIEDMAN

ENCORE REHABILITATION
SERVICES, LLC, et al.,

      Defendants.
_____________________________/

                            ORDER ACCEPTING MAGISTRATE
                         JUDGE’S REPORT AND RECOMMENDATION

                This matter is presently before the Court on the Report and Recommendation (“R&R”)

of Magistrate Judge David R. Grand, who recommends that the Court grant defendants’ motion to

dismiss plaintiff’s Title VII claims. Plaintiff has not objected to the R&R, and the objection period has

expired. The Court has reviewed the motion papers and the R&R. The R&R correctly determined that

plaintiff’s Title VII claims were untimely filed and must be dismissed. Accordingly,



                IT IS ORDERED that Magistrate Judge Grand’s R&R is accepted and adopted as the

findings and conclusions of the Court.



                IT IS FURTHER ORDERED that defendants’ motion to dismiss plaintiff’s Title VII

claims is granted.

                                                 s/Bernard A. Friedman
                                                 Bernard A. Friedman
 Dated: November 9, 2020                         Senior United States District Judge
        Detroit, Michigan
Case 2:19-cv-13092-BAF-DRG ECF No. 38, PageID.173 Filed 11/09/20 Page 2 of 2



                                       CERTIFICATE OF SERVICE

The undersigned certifies that the foregoing document was served upon counsel of record and any
unrepresented parties via the Court's ECF System to their respective email or First Class U.S. mail addresses
disclosed on the Notice of Electronic Filing on November 9, 2020.

 Jennifer Schluter                                   s/Johnetta M. Curry-Williams
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 South #212
 Novi, MI 48375
